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 6                               UNITED STATES DISTRICT COURT
 7                                       DISTRICT OF NEVADA
 8 UNITED STATES OF AMERICA,                          )
                                                      )
 9                 Plaintiff,                         )
                                                      )
10           v.                                       ) 2:11-CR-403-APG-(PAL)
                                                      )
11 WILLIAM MORRISON,                                  )
                                                      )
12                 Defendant.                         )
                                                      )
13

14                                                 ORDER
15           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United States of

16 America’s interests and rights expired in:

17                 1.    Glock Model 23, .40 caliber semi-automatic pistol, serial number ATX511US;

18                       and

19                 2.    any and all ammunition (“property”).

20           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Preliminary Order of

21 Forfeiture (ECF No. 93), the Order Granting the Stipulation for Return of Property (ECF No. 102),

22 and the Final Order of Forfeiture (ECF No. 105) entered in this case are null and void;

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 1         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the above-named

 2 property does not revert to WILLIAM MORRISON, and/or any person acting in concert with him

 3 and/or on his behalf.

 4                                                   IT IS SO ORDERED:
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                                                     __________________________________
 7                                                   UNITED STATES DISTRICT JUDGE
 8                                                             August 20, 2013
                                                     DATED: __________________________
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